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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION

THOMAS ROSSLEY, JR.,

      Plaintiff,
                                                                    No. 4:16-cv-00623-RGE
v.
                                                       ORDER RE: DEFENDANTS’ MOTION FOR
DRAKE UNIVERSITY AND DRAKE                                  A PRELIMINARY RULING
UNIVERSITY BOARD OF TRUSTEES,

      Defendants.

I.     INTRODUCTION

       Plaintiff Thomas Rossley, Jr., brings this suit against Defendants Drake University and Drake

University Board of Trustees challenging Defendants’ Title IX investigation which concluded Rossley

assaulted a female student. Defendants ask the Court to issue a preliminary ruling as to the admissibility

of evidence relating to the sexual conduct of the victim, Jane Doe. Defendants assert Federal Rules of

Evidence 412 and 403 bar admission of such evidence. Plaintiff contends the evidence does not fall

under Rule 412 as it is being introduced to demonstrate the sexual assault did not occur. In the alternative,

Plaintiff argues the evidence is relevant and admissible under Rules 412 and 403. As explained below,

there is insufficient information for the Court to determine the admissibility of any proffered evidence.

Additionally, the issue is not properly before the Court pursuant to Rule 412(c). Consequently, the Court

denies Defendants’ motion for a preliminary ruling.

II.    SUMMARY OF RELEVANT FACTS

       Plaintiff’s claims arise from a Title IX sexual assault investigation conducted by Drake

University for conduct occurring between Plaintiff and Jane Doe in October 2015. See generally Am.

Compl. ¶¶ 75–97, ECF No. 46 (describing the conduct); id. ¶¶ 98–159 (describing the investigation).

During the evening of October 8 and the early morning of October 9, Plaintiff and Jane Doe met at a
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local bar after each had consumed a large amount of alcohol. Id. ¶¶ 77, 78, 80–81. According to the

amended complaint, Plaintiff and Jane Doe proceeded to Plaintiff’s fraternity house “but, finding

nowhere to be alone, they went back outside to Plaintiff’s parked car and got into the back seat. Jane

Doe then initiated oral sex on Plaintiff.” Id. ¶ 85. Plaintiff maintains he does not recall what happened

in the car and next remembers “lying on his bed with Jane Doe standing on a chair next to his lofted bed,

and telling him that she was leaving.” Id. ¶¶ 85, 88. As stated in the amended complaint, Jane Doe

“claimed she next recalled being in Plaintiff’s room and lying on a beanbag chair. . . . [with] her clothes

on, pants pulled down, and underwear pushed to the side.” Id. ¶ 89. She also recalls “Plaintiff above her,

his pants off and wearing a condom.” Id. “Jane Doe claimed she told [Plaintiff] to stop.” Id. ¶ 90.

       The amended complaint states Jane Doe then immediately went to another fraternity member’s

bedroom in the fraternity annex across the street and “jumped on top of him in his bed.” Id. ¶ 92. The

fraternity member told her to leave. Id. Jane Doe then allegedly “went to another fraternity member’s

bedroom in the same house and entered his bed. Jane Doe removed her shirt and at some point performed

oral sex on him.” Id. ¶ 93. Jane Doe “stayed and slept with this fraternity member and left his house at

9:00 a.m. the next day.” Id. A Title IX investigation commenced thereafter. See id. ¶¶ 98–113. Drake

conducted disciplinary proceedings and expelled Plaintiff. See id. ¶¶ 150–59.

       In December 2016, Plaintiff brought suit against Defendants and other individual Defendants.

ECF No. 1. Plaintiff later amended his complaint. ECF No. 46. Following a previous Order by the Court,

seven counts remain against Drake University and the Drake University Board of Trustees. See generally

Order re: Defs.’ Partial Mot. to Dismiss 10, ECF No. 48. Count I alleges Defendants violated Title IX in

conducting a sexual misconduct hearing against Plaintiff that deprived him of his rights of due process

and equal protection. ECF No. 46 ¶¶ 169–88. Count III alleges breach of contract and Count IV alleges

breach of the covenant of good faith and fair dealing. Id. ¶¶ 203–24. Count V alleges negligent infliction
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of emotional distress. Id. ¶¶ 225–34. Count VI alleges discrimination based on disability under Title II

of the Americans with Disabilities Act (ADA). Id. ¶¶ 235–40. Count VII alleges estoppel and reliance

based upon Plaintiff’s reliance “to his detriment on [Defendant’s] express and implied promises and

representations.” Id. ¶¶ 241–47. Lastly Count VIII requests a declaratory judgment to reverse and

terminate the findings of the Title IX investigation and the resulting actions, as well as a finding that

Drake’s Code of Conduct is unconstitutional as applied. Id. ¶¶ 248–52.

       Defendants presently challenge the Plaintiff’s intended use of evidence regarding Jane Doe’s

sexual conduct with individuals other than Plaintiff, asserting such evidence is inadmissible under Rules

412 and 403. See Defs.’ Mot. Prelim. Ruling, ECF No. 74; Defs.’ Br. Supp. Mot. Prelim. Ruling 1–2,

ECF No. 74-1. In response, Plaintiff asserts Rule 412 does not apply to exclude this evidence because

“[t]he point of proving Jane Doe’s behavior that night after she left Plaintiff is to help prove that there

was no non-consensual sexual intercourse . . . , not to prove that Jane Doe engaged in other sexual

behavior and not to prove Jane Doe’s sexual predisposition.” Pl.’s Mem. Supp. Resist. Mot. to Dismiss

8, ECF No. 82-4. Plaintiff also contends even if Rule 412 applied, the challenged evidence is still

admissible as its probative value substantially outweighs any unfair prejudice. Id. at 8–10. Finally,

Plaintiff argues the evidence is admissible under Rule 403 as its probative value is not outweighed by

unfair prejudice. Id. at 11. For the reasons set forth below, the Court denies Defendants’ motion.

III.   LEGAL STANDARD

       Federal Rule of Evidence 412 broadly sets forth two types of evidence that are inadmissible in a

civil proceeding “involving alleged sexual misconduct”: “(1) evidence offered to prove that the victim

engaged in other sexual behavior; or (2) evidence offered to prove a victim’s sexual predisposition.”

Fed. R. Evid. 412(a). However, the rule further provides a Court in a civil proceeding may allow

admission of such evidence “if its probative value substantially outweighs the danger of harm to any
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victim and of unfair prejudice to any party.” Fed. R. Evid. 412(b)(2). Federal Rule of Evidence 403 sets

forth a similar standard applicable to all evidence: “The court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.”

IV.    DISCUSSION

       A.      Whether Evidence Falls Under Rule 412

       The Court first considers whether the disputed evidence as described by the parties is subject to

the conditions of Rule 412. Although it is unclear what the particular evidence is––an issue discussed in

more detail below––both parties have identified the general contours of the contested evidence. See ECF

No. 74 ¶ 1; Pl.’s Resist. Defs.’ Mot. Prelim. Ruling ¶ 1, ECF No. 82. The Court determines the proffered

evidence regarding Jane Doe’s other alleged sexual conduct falls under Rule 412.

       Plaintiff intends to offer evidence relating to Jane Doe’s sexual behavior with a third party

following her encounter with Plaintiff. ECF No. 82-4 at 8. Such evidence, regardless of its ultimate

purpose, will be evidence “offered to prove that [Jane Doe] engaged in other sexual behavior.” Fed. R.

Evid. 412(a)(1). This evidence thus falls squarely within the ambit of Rule 412. See Wilson v. City of

Des Moines, 442 F.3d 637, 642–43 (8th Cir. 2006) (determining the district court acted appropriately in

concluding evidence relating to the plaintiff’s comments regarding her sexual behavior and “sexually

charged comments” was evidence of “other sexual behavior” under Rule 412); cf. Warren v. Prejean,

301 F.3d 893, 906 (8th Cir. 2002) (reasoning Rule 412 would not bar the plaintiff from introducing the

sexual comments made by a coworker in order to show the plaintiff had not sexually harassed her

coworker because such evidence “dealt only with the relationship between” the two parties).



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       B.      Defendants’ Motion for a Preliminary Ruling

       Determining the evidence is subject to Rule 412 does not conclude the Court’s inquiry.

Defendants seek a preliminary ruling on the evidence’s admissibility. There is insufficient information

for the Court to determine the admissibility of the disputed evidence.

       Although both parties discuss the applicability of Rule 412, neither explains what the purported

evidence will be or the scope of such evidence. For instance, it is unclear whether the preliminary ruling

is meant to address evidence regarding Jane Doe’s sexual activity before and after her encounter with

Plaintiff, as Defendants request, or only evidence relating to Jane Doe’s activities after her encounter

with Plaintiff, as Plaintiff argues. See ECF No. 74-1 at 3; ECF No. 82-4 at 8. Furthermore, neither party

describes the form of the evidence nor how it will be introduced. It remains unclear whether Plaintiff

intends to call Jane Doe or himself as witnesses, introduce testimony from his deposition or Title IX

hearing, or use another unidentified witness or document. Plaintiff attached testimony from his Title IX

hearing to his resistance and both parties included copies of Plaintiff’s deposition testimony; however,

neither party indicates how these materials correspond to the evidence at issue in Defendants’ motion.

See Defs.’ Mot. Prelim. Ruling Ex. 1, ECF No. 74-2; Pl.’s Resist. Defs.’ Mot. Prelim. Ruling Exs. A &

C, ECF Nos. 82-1 & 82–3. Absent additional information, the Court is unable to determine whether the

disputed evidence as described by the parties is admissible under Rule 412.

       In addition to the concerns raised above, the Court notes it is also unable to rule on the

admissibility of any purported Rule 412 evidence as it has not conducted a Rule 412(c) hearing. Pursuant

to Rule 412(c), any party intending to offer evidence under Rule 412 must, among other requirements,

“file a motion that specifically describes the evidence and states the purpose for which it is to be offered”

and “notify the victim.” Fed. R. Civ. P. 412(c)(1)(A), (D). Additionally, “[b]efore admitting evidence

under this rule, the court must conduct an in camera hearing and give the victim and parties a right to
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attend and be heard.” Fed. R. Civ. P. 412(c)(2). None of these procedural requirements have been met

in this case. Furthermore, unlike other cases considering this issue, the victim is not a party to the case

and likely has not been made aware of any proffered evidence. Cf. Wilson, 442 F.3d at 644 (noting the

failure to follow the Rule 412(c) procedure was harmless because the victim, i.e., the plaintiff, was aware

the defendant intended to offer her statements and had submitted an exhibit containing facts which were

substantially similar to the content of the statements); Beard v. Flying J, Inc., 266 F.3d 792, 802 (8th

Cir. 2001) (same). Consequently, the Court is unable to rule on the admissibility of any Rule 412

evidence. Defendants’ motion is therefore denied.

V.     CONCLUSION

       The Court denies Defendants’ Motion for a Preliminary Ruling. The contested evidence is subject

to the conditions of Rule 412. However, the parties have not sufficiently specified the evidence at issue

and have not complied with the procedural requirements under Rule 412.

       IT IS SO ORDERED that Defendants’ Motion for a Preliminary Ruling, ECF No. 74, is

DENIED.

       Dated this 12th day of June, 2018.




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